                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

MITCHELL REPAIR INFORMATION                      )
COMPANY, LLC, d/b/a MITCHELL 1                   )
                                                 )
                       Plaintiff,                )
                                                 )    C.A. No.
         v.                                      )
                                                 )    JURY TRIAL DEMANDED
NOREGON SYSTEMS, INC.,                           )
                                                 )
                       Defendant.                )
                                                 )
                                                 )


                                          COMPLAINT
         Plaintiff Mitchell Repair Information Company, LLC (“Mitchell”), for its Complaint

against Defendant Noregon Systems, Inc. (“Noregon”), alleges as follows:

                                         THE PARTIES
         1.     Mitchell is a limited liability company organized under the laws of the state of

Delaware with its principal place of business at 14145 Danielson Street, Poway, California

92064.

         2.     On information and belief, Noregon is a corporation organized under the laws of

the state of North Carolina with its principal place of business at 7009 Albert Pick Road,

Greensboro, North Carolina 27409-9654.

                                    JURISDICTION AND VENUE
         3.     This is a complaint for direct and contributory patent infringement arising under

35 U.S.C. § 271 et seq., and also for breach of contract, false advertising under the Lanham Act

§ 1125(a), unfair competition under N.C. Gen. Stat § 75-1.1 et seq., common law unfair

competition and misappropriation, and tortious interference with a contract. This Court has




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subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338(a), and 1367.

        4.       Venue is proper in this District under 28 U.S.C. § 1400(b) because Noregon is a

North Carolina corporation and therefore “resides” in this District under 28 U.S.C. §§ 1391(b),

1391(c) and 1400(b), and because Noregon has committed acts of infringement in this District,

directly and/or through a third-party, because it manufacturers, makes, imports, sells, offers to

sell or use various vehicle diagnostic systems, devices, products, and service, including the JPRO

Professional Diagnostic Software with Next Step, within this judicial District, and maintains its

principal place of business in this District, which is a regular and established place of business.

Furthermore, Noregon engaged in tortious conduct directed to harm residents of this District and

has purposefully directed its activities to the State and this District and/or purposefully availed

itself of this jurisdiction.

                                      THE PATENT-IN-SUIT
        5.       The patent at issue in this action is United States Patent No. 8,954,222 (“the ’222

Patent” or “the Patent-in-Suit”).

        6.       The ’222 Patent is entitled “Method and System for Retrieving Diagnostic

Information,” and issued on February 10, 2015. Mitchell owns by assignment the entire right,

title, and interest in and to the ’222 Patent. A true and correct copy of the ’222 Patent is attached

to this Complaint as Exhibit A.

        7.       The ‘222 Patent relates to a system, method and apparatus for retrieving

diagnostic trouble codes from a vehicle and providing diagnostic and repair information

corresponding and specific to the diagnostic trouble codes for display to a repair technician. The

diagnostic and repair information may be stored locally prior to display.

                                          BACKGROUND



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       8.      Mitchell is a leading provider of diagnostic software and repair information to the

automotive and commercial trucking industries. Mitchell operates under the trade name

“Mitchell 1” and is sometimes referred to as “Mitchell1”.

       9.      Mitchell provides diagnostic and repair software and associated software services

to thousands of automotive service and repair facilities in the U.S. and Canada, covering

passenger vehicles and all classes of commercial trucks. Commercial trucks range from light

trucks (classes 1-3) and medium trucks (classes 4-6) to heavy-duty trucks (classes 7-8).

       10.     In 2012, Mitchell launched its patented REPAIR-CONNECT system, an internet-

based diagnostic and troubleshooting software system for medium and heavy commercial trucks

covering most of the makes and models sold in the U.S. and Canada since 1990.

       11.     Mitchell invested significant time and resources to develop the REPAIR-

CONNECT system. Rather than finding diagnostic and repair information in lengthy repair

manuals from each original equipment manufacturer, Mitchell’s REPAIR-CONNECT system

allows automotive technicians or repair facilities to quickly access relevant and applicable

diagnostic and repair information, and to return specific information to facilitate repair, including

descriptions, diagnostic trouble codes, related wiring diagrams, component connector views,

electrical component locator, testing procedures, removal and installation procedures, and

specifications related to the diagnostic trouble code by using vehicle identification information

and diagnostic trouble codes.

       12.     Mitchell obtained the ’222 patent to protect its proprietary REPAIR-CONNECT

system.

       13.     Mitchell’s patented REPAIR-CONNECT system enjoyed immediate success and

acceptance in the market. The REPAIR-CONNECT system quickly became the leading



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diagnostic and repair system of its kind.

       14.     From its launch, Mitchell has required each user of its REPAIR-CONNECT

system to enter into an end user license agreement (“EULA”) that governs the terms of use of the

system. End users of Mitchell’s REPAIR-CONNECT system agree and acknowledge that

breach of the EULA will cause irreparable injury to Mitchell.

       15.     Following the successful market launch of its REPAIR-CONNECT system,

Mitchell also partnered with other companies to license use of its patented REPAIR-CONNECT

system for use with vehicle diagnostic scanning tools.

       16.     On March 1, 2012, Mitchell entered into a Service Information Access Agreement

(“SIA Agreement I”) with Noregon to develop the software and interface required to enable

Noregon’s JPRO diagnostic scanning tool to work with Mitchell ’s REPAIR-CONNECT system

for medium-duty and heavy-duty commercial trucks. Noregon’s diagnostic scan tools would

allow end users, including repair technicians and repair shops for commercial trucks, to access

vehicle diagnostic trouble codes, and Mitchell’s REPAIR-CONNECT system would provide

specific and tailored diagnostic information and repair instructions corresponding to the

diagnostic trouble codes for a particular truck.

       17.     Mitchell invested substantial resources in training employees at Noregon related

to the use of JPRO with Mitchell’s REPAIR-CONNECT system, including training employees at

Noregon’s call centers on how to answer questions from end users.

       18.     Mitchell also invested substantial resources over the course of many months to

develop a user interface that enabled Noregon’s JPRO diagnostic tool to be used with Mitchell’s

REPAIR-CONNECT system.




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       19.     On July 20, 2015, Mitchell and Noregon extended their relationship with another

Service Information Access Agreement (“SIA Agreement II” or “SIA Agreement”) again

memorializing their agreement to work together to develop the software and interface required to

enable Noregon’s JPRO diagnostic scanning tool to be used with Mitchell’s REPAIR-

CONNECT system for medium-duty and heavy-duty commercial trucks.

       20.     Under the SIA Agreement, end users would execute both (1) Noregon’s customer

agreement providing on-line access from the JPRO diagnostic tool to Mitchell’s REPAIR-

CONNECT system, and (2) Mitchell’s EULA governing use and licensing of Mitchell’s

REPAIR-CONNECT system. End users paid Noregon a subscription fee for access to the

REPAIR-CONNECT system, and Noregon paid Mitchell a monthly fee for each subscription to

its proprietary REPAIR-CONNECT system. The SIA Agreement also required Noregon to send

Mitchell monthly Device Reports indicating the number of active users and fees to be paid.

       21.     While Mitchell granted Noregon a non-exclusive license to both use and grant

end-users access to Mitchell’s REPAIR-CONNECT system, Mitchell was also concerned about

misappropriation of its proprietary system. In order to guard against any such misappropriation,

the SIA Agreement prevented certain Noregon “prohibited acts,” including directly or indirectly

(i) altering or copying, in any form or medium all or any part of the data contained in the

Mitchell’s REPAIR-CONNECT system; or (ii) reverse engineering, creating any derivative work

from, or adaptation of the REPAIR-CONNECT system.

       22.     Noregon was also prohibited from accessing Mitchell’s REPAIR-CONNECT

system by any manner except by use of the JPRO diagnostic tool.

       23.     The SIA Agreement also prohibited Noregon from disclosing any of Mitchell’s

proprietary information to anyone other than (i) its employees, agents, or representatives who



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reasonably require such knowledge in order to implement the purposes of the SIA Agreement.

The SIA Agreement acknowledged that such disclosure would cause the aggrieved party

irreparable injury for which there are inadequate remedies at law, and, therefore, the aggrieved

party shall be entitled to seek to obtain injunctive or other equitable relief, in addition to other

available remedies.

       24.     Both SIA Agreements I and II spanned three years, with the second Agreement’s

term spanning from March 1, 2015 to February 28, 2018, with termination possible upon ninety

(90) days-notice to the other party.

       25.     To access Mitchell’s REPAIR-CONNECT system, an end user would select a tab

entitled “NextStep” or “Next Step Net” (collectively referred to as the “NextStep” tab) in the

JPRO diagnostic tool’s user interface.

       26.     End users of JPRO with the REPAIR-CONNECT system had grown to expect to

obtain the benefits and efficiencies of using Mitchell’s leading REPAIR-CONNECT system

when they selected the “NextStep” tab in the JPRO tool’s user interface.

       27.     In September of 2017, Noregon informed Mitchell that it intended to cancel the

SIA Agreement within sixty (60) days.

       28.     Upon information and belief, at the time, there were about 3000 customers using

JPRO with the REPAIR-CONNECT system.

       29.     Mitchell did not know that prior to issuing its notice to terminate the Agreement,

Noregon had developed its own derivation and adaptation of Mitchell’s REPAIR-CONNECT

system known as the NextStep Service and Repair system, or the NextStep Net Service and

Repair system when sold as a stand-alone version of the Next Step Service and Repair system

(collectively referred to as the “Next Step” system). Much like the REPAIR-CONNECT system,



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an end user could access the Next Step system through an interface with a diagnostic tool using

vehicle identification information and a diagnostic trouble code.

       30.     In October 2017, Noregon announced a so-called “software update” to the end

users of JPRO and to the public via a press release. As part of the software update, Noregon

substituted its Next Step system for Mitchell’s REPAIR-CONNECT system. End users who

selected the “NextStep” tab in the JPRO user interface no longer accessed and connected to

Mitchell’s REPAIR-CONNECT system, but rather to Noregon’s own infringing Next Step

system, which provided less information and less coverage for medium and heavy commercial

trucks sold in the U.S. and Canada from 1990 to present.

       31.     Upon information and belief, Noregon did not inform end users, all of whom

signed a EULA with Mitchell, of the change from Mitchell’s proprietary REPAIR-CONNECT

system to Noregon’s Next Step system. Rather, Noregon intentionally concealed the switch

from Mitchell’s REPAIR-CONNECT licensees, and instead falsely and improperly represented

the switch as a software update.

       32.     Noregon’s Next Step system was not only similar to Mitchell s REPAIR-

CONNECT system functionally, but the Next Step system also included many of the same user

interface features derived and adapted from Mitchell’s proprietary REPAIR-CONNECT system,

including vehicle and engine selection tabs and drop-down features, trouble code modules, fault

code lists, information tabs specific to fault codes, fault code descriptions, wiring, connectors,

testing and trouble-shooting, and removal and installation instructions.

       33.     Noregon’s Next Step system competes directly with Mitchell’s REPAIR-

CONNECT system. Noregon markets and sells its JPRO system with Next Step to Mitchell’s

customers.



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       34.     On information and belief, Noregon disclosed Mitchell’s proprietary information

to one or more persons who worked to develop Noregon’s competing Next Step system.

       35.     Noregon’s switch of diagnostic and repair systems, and misrepresentation of the

switch as a software update, confused end users as to the identity and source of the diagnostic

and repair system. Multiple end users contacted Mitchell regarding the diminished capabilities

of the Next Step system.

       36.     Noregon switched each end user of JPRO and Mitchell’s REPAIR-CONNECT

system, each of whom signed a EULA agreement to use Mitchell’s REPAIR-CONNECT system,

to the Next Step system.

       37.     Noregon stopped paying Mitchell royalties based on the SIA Agreement in

October 2017. Noregon did not submit any further Device Reports to Mitchell.

       38.     After Noregon’s switch from Mitchell’s REPAIR-CONNECT system to its

infringing Next Step system in October 2017, Mitchell suffered a loss of customers and revenue.

       39.     On information and belief, Noregon markets and sells its JPRO diagnostic tool,

interface, and Next Step system not only on its website and in its product literature directed to

residents of the Middle District of North Carolina, but also through dealers and/or distributors

located in the Middle District of North Carolina.

       40.     When it learned about Noregon’s JPRO/Next Step system, Mitchell sent a letter to

Noregon on February 5, 2018 offering Noregon a license under the ’222 patent. Noregon

declined the license, but instead continues to knowingly use, sell and offer for sale its Next Step

system, both by itself and in combination with JPRO.

                                    COUNT I
                     DIRECT INFRINGEMENT OF THE ’222 PATENT
       41.     Mitchell repeats each and every allegation of the preceding paragraphs as if set


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forth fully herein.

        42.     In violation of 35 U.S.C. § 271, Noregon has infringed and continues to infringe,

literally or under the doctrine of equivalents, at least claim 6 of the ’222 Patent by making, using,

selling, or offering for sale within the United States, or importing into the United States, vehicle

diagnostic systems that are covered by one or more claims of the ’222 Patent, including but not

limited to the JPRO/Next Step system.

        43.     The JPRO/Next Step system comprises a diagnostic system for retrieving and

storing specific diagnostic information. Below is a photo of the JPRO/Next Step system.




        44.     The JPRO/Next Step system comprises a computing device at a first location

having a first electronic storage medium. The JPRO/Next Step system includes a laptop

computer that runs the JPRO diagnostic software, including access to the Next Step portal

service. The laptop computer includes a hard drive and memory for electronic storage of

information. The JPRO/Next Step system can used with other laptop and desktop computers as

well.

        45.     The JPRO/Next Step system comprises a first interface, connected to the

computing device, for retrieving one or more diagnostic trouble codes from a second electronic

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storage medium within a motor vehicle under diagnosis. The JPRO/Next Step system includes a

DLA+ 2.0 adapter interface between the laptop and the vehicle input connections to retrieve

diagnostic codes from the vehicle’s onboard computer.

       46.     The JPRO/Next Step system comprises a second interface for connecting the

computing device with a remote computing system at a second location via a network

connection. The JPRO/Next Step system accesses the Next Step portal from the JPRO or other

laptop or personal computer connected to the Internet. Next Step includes searchable databases,

including detailed fault information, wiring diagrams, and component locaters.

       47.     The computing device in the JPRO/Next Step system includes a display

configured to display an index to specific diagnostic information received from the remote

computing system. The JPRO/Next Step system laptop (or other laptop or personal computer

used in the system), includes a display screen for displaying a list of fault codes (diagnostic

trouble codes) received from a vehicle, and displays information about the fault codes received

from the Next Step portal.

       48.     The computing device in the JPRO/Next Step system is configured to, after

retrieval of a first diagnostic trouble code (DTC) from the motor vehicle, [1] request, from an

electronic library at the remote computing system, specific diagnostic information tagged with a

trouble code identification ID corresponding to the first DTC, [2] receive the specific diagnostic

information requested from the remote computing system, [3] store the received specific

diagnostic information in the first electronic storage medium, and [4] populate the display of the

computing device with an index to the specific diagnostic information tagged with the trouble

code identification ID corresponding to the first DTC stored in the first electronic storage

medium of the computing device. After retrieving a DTC, the JPRO/Next Step laptop (or other



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laptop or personal computer) [1] requests and [2] receives from the Next Step portal information

corresponding to the DTC, and that information is [3] stored and [4] displayed by the JPRO

laptop.

          49.   The JPRO/Next Step advertising materials explain that “Next Step integrates

directly with JPRO” with respect to “data related to fault repair” so that the user can “view fault

data” without “constantly switching between application.” This occurs when, after receiving the

DTC, the JPRO laptop [1] requests and [2] receives information corresponding to the DTC from

the Next Step portal, and that information is [3] stored and [4] displayed by the JPRO laptop.

          50.   In the JPRO/Next Step system, the index to the specific diagnostic information

populating the display includes at least a first button selectable to display first specific diagnostic

information tagged with the trouble code identification ID corresponding to the first DTC, and a

second button selectable to display second specific diagnostic information tagged with the

trouble code identification ID corresponding to the first DTC.

          51.   The JPRO/Next Step system includes a first button, such as “OVERVIEW,” and

second button, such as “WIRING,” “TROUBLESHOOTING TASKS,” or “R&I” as navigation

tabs within the graphical user interface (GUI), where the selecting the button prompts the GUI to

display the respective specific diagnostic information corresponding to the DTC.

          52.   In the JPRO/Next Step system, the second specific diagnostic information is

different than the first specific diagnostic information. The JPRO/Next Step system’s second

specific diagnostic information (i.e. “WIRING”) is different from the first specific diagnostic

information (i.e. “OVERVIEW”).

          53.   As a direct and proximate consequence of the infringement, Mitchell has been, is

being, and, unless such acts and practices are enjoined by the Court, will continue to be injured



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in its business and property rights, and has suffered, is suffering, and will continue to suffer

injury and damages for which it is entitled to relief under 35 U.S.C. § 284 adequate to

compensate for such infringement, including lost profits, but in no event less than a reasonable

royalty.

        54.     Noregon’s infringement is further causing and will continue to cause Mitchell

irreparable harm, for which there is no adequate remedy at law. Unless and until enjoined by

this Court, Noregon will continue to infringe the ’222 Patent. Under 35 U.S.C. § 283, Mitchell is

entitled to an injunction against further infringement.

        55.     Additionally, on information and belief, Noregon has known that its activities

concerning JPRO/Next Step system infringe at least claim 6 of the ʼ222 patent.

        56.     On information and belief, Noregon has made no attempt to design around the

ʼ222 patent.

        57.     On information and belief, Noregon’s infringement of at least one claim of the

ʼ222 patent has been willful. Mitchell has been damaged as the result of Noregon’s willful

infringement, and seeks increased damages, up to and including treble damages.

                                      COUNT II
                      INDIRECT INFRINGEMENT OF THE ’222 PATENT
        58.     Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.

        59.     Noregon also offers for sale and/or sells its Next Step system for use independent

of JPRO, including for use alone or with diagnostic tools and software.

        60.     Noregon has indirectly infringed at least claim 6 of the ’222 patent by inducing

others, including its customers, Mitchell’s customers and other end users of Next Step, to




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directly infringe claim 6 by making, selling or offering to sell diagnostic and repair systems

using the Next Step system recited in at least claim 6 of the ’222 patent.

          61.   On information and belief, Noregon intentionally took actions that induced its

customers, Mitchell’s customers and other end users of Next Step to infringe at least claim 6 of

the ’222 patent based upon marketing material from and website content of Noregon. For

example, Noregon offered the Next Step system to customers independent of its JPRO diagnostic

tools, with knowledge that such use of Next Step would infringe at least claim 6 of the ’222

patent.

          62.   Noregon has known of the ’222 patent since at least February 5, 2018, and has

induced infringement since at least that time.

          63.   Noregon’s actions demonstrate an intent to cause the acts that form the basis of

the direct infringement, and that Noregon did so with the specific intent to infringe the ’222

patent.

          64.   Noregon has also contributed to the infringement of at least claim 6 of the ’222

patent by others, including its customers, Mitchell’s customers and other end users of Next Step,

that directly infringe claim 6, by making, selling or offering to sell diagnostic and repair systems

using the Next Step system recited in at least claim 6 of the ’222 patent. For example, Noregon’s

customers and/or the end users have incorporated Next Step into their diagnostic and repair

systems to repair commercial trucks.

          65.   Noregon has contributorily infringed and is a contributory infringer because, with

knowledge of the ’222 Patent, it supplies with Next Step a material part of a claimed

combination, where the Next Step is not a staple article of commerce, and has no substantial non-

infringing uses.



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        66.     Noregon knew that its Next Step system was especially made or adapted for use

in a manner that would infringe at least claim 6 of the ’222 patent.

        67.     Mitchell has been damaged as the result of Noregon’s indirect infringement, and

is entitled to relief under 35 U.S.C. §§ 283 and 284 based on Noregon’s induced and/or

contributory infringement.

                                        COUNT III
                                   BREACH OF CONTRACT

        68.     Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.

        69.     The SIA Agreement between Mitchell and Noregon was entered into for good and

valuable consideration.

        70.     The SIA Agreement between Mitchell 1 and Noregon prohibits Noregon from

reverse engineering, creating any derivative works from or adaptations of Mitchell’s REPAIR-

CONNECT system.

        71.     Noregon’s Next Step system is a derivative work and an adaptation of Mitchell’s

REPAIR-CONNECT system in violation of the SIA Agreement, including paragraph 2.2.

        72.     On information and belief, Noregon disclosed Proprietary Information to persons

outside of the scope of the SIA Agreement in violation of at least paragraph 5.2.

        73.     Noregon failed to submit Payments and Device Reports to Mitchell in violation of

the SIA Agreement, including paragraphs 6.1 and 6.2.

        74.     Noregon’s breach of the SIA Agreement has caused Mitchell to suffer damages in

the form of lost customers, lost market share and lost revenue.

        75.     Noregon has been unjustly enriched as a result of its breach of the SIA

Agreement.


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        76.     Mitchell is entitled to relief in the form of lost profits and lost licensing fees, both

in the past and going forward.

        77.     Noregon’s breach of the SIA Agreement has been willful and malicious. To the

extent permitted under law, Mitchell seeks enhanced damages for Noregon’s willful and wanton

breach of the SIA Agreement.

                                      COUNT IV
                            VIOLATION OF THE LANHAM ACT –
                      FALSE ADVERTISING AND UNFAIR COMPETITION

        78.     Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.

        79.     In violation of 15 U.S.C. § 1125(a), Noregon, with the intent to deceive the

public, has switched the diagnostic and repair software used with the JPRO diagnostic tool

without informing Mitchell’s REPAIR-CONNECT customers, licensees or the public of the

substitution to a different, inferior product that has fewer capabilities than Mitchell’s REPAIR-

CONNECT system.

        80.     Noregon falsely represented and/or falsely advertised its switch from Mitchell’s

REPAIR-CONNECT system to Noregon’s Next Step system as a software update, when it was a

switch to a different system with different software.

        81.     Noregon’s false representations and/or false advertising have been made in

communications to Mitchell’s customers, in Noregon press releases, in Noregon’s advertising

materials and on Noregon’s website.

        82.     Noregon’s Next Step system competes directly with Mitchell’s REPAIR-

CONNECT system.




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       83.     On information and belief, Noregon misrepresented and falsely advertised the

switch from Mitchell’s REPAIR-CONNECT system to Noregon’s Next Step system as a

software update knowingly with the intent to gain a competitive advantage over Mitchell and

gain market share away from Mitchell in the market for commercial truck diagnostic services

and repair.

       84.     Mitchell has suffered commercial harm as a result of Noregon’s

misrepresentations and false advertising because Noregon’s misrepresentations and false

advertising are material and likely to confuse customers and potential customers as to the source

of the diagnostic and repair software used with JPRO, and lead customers and potential

customers to believe that they are using Mitchell’s REPAIR-CONNECT system with a software

update, not another diagnostic and repair software system marketed and sold competitively

against Mitchell’s REPAIR-CONNECT system.

       85.     Mitchell is entitled to recover damages adequate to compensate it for the

competitive injury resulting from Noregon’s misrepresentations and false advertising, which

damages include at least lost profits.

       86.     On information and belief, Noregon has profited from its false advertising of

JPRO/Next Step in amounts to be determined in the course of this action.

       87.     Pursuant to 15 U.S.C. § 1117, Mitchell is entitled to recover Noregon’s profits

resulting from Noregon’s false advertising of the alleged features of the JPRO/Next Step system.

       88.     Noregon’s false advertising has further caused and will continue to cause

irreparable harm to Mitchell, for which there is no adequate remedy at law, unless and until

Noregon is enjoined by this Court from any further false advertising of the JPRO/Next Step

system.



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        89.     On information and belief, Noregon’s above actions are willful and intentional,

thus entitling Mitchell to an award of exemplary and enhanced damages in an amount

appropriate to punish Noregon and deter others from engaging in similar misconduct.

                                   COUNT V
                         COMMON LAW UNFAIR COMPETITION

        90.     Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.

        91.     Noregon, with the intent to deceive the public, switched the diagnostic and repair

software used with the JPRO diagnostic tool without informing Mitchell’s REPAIR-CONNECT

customers, potential customers, licensees or the public of the switch to a different product than

Mitchell’s REPAIR-CONNECT system.

        92.     Noregon has competed unfairly with Mitchell by falsely advertising and falsely

representing and its switch from Mitchell’s REPAIR-CONNECT system to Noregon’s Next Step

system as a software update, when it was a switch to a different system with different software.

        93.     Noregon’s false advertising and commercial misrepresentations have been made

in communications to Mitchell’s customers, in Noregon press releases, in Noregon’s advertising

materials and on Noregon’s website.

        94.     On information and belief, Noregon misrepresented the switch from Mitchell’s

REPAIR-CONNECT system to Noregon’s Next Step system knowingly and with the intent to

gain a competitive advantage over Mitchell and compete unfairly against Mitchell in the market

for automotive service and repair software.

        95.     Mitchell has suffered commercial harm as a result of Noregon’s unfair

competition because Noregon’s false advertising and misrepresentations have caused Mitchell’s




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REPAIR-CONNECT customers, potential customers and licensees to switch to Noregon’s Next

Step system.

        96.     Mitchell is entitled to recover damages adequate to compensate it for the

competitive injury resulting from Noregon’s unfair competition, which damages include at least

lost profits.

        97.     On information and belief, Noregon has profited from its acts of unfair

competition in falsely advertising and misrepresenting the switch from REPAIR-CONNECT to

Next Step in amounts to be determined in the course of this action.

        98.     Mitchell is entitled to recover Noregon’s profits resulting from Noregon’s unfair

competition.

        99.     Noregon’s unfair competition has further caused and will continue to cause

irreparable harm to Mitchell, for which there is no adequate remedy at law, unless and until

Noregon is enjoined by this Court from unfairly competing with its JPRO/Next Step system.

        100.    On information and belief, Noregon’s above acts of unfair competition are willful

and intentional, thus entitling Mitchell to an award of exemplary and enhanced damages in an

amount appropriate to punish Noregon and deter others from engaging in similar misconduct.

                                    COUNT VI
                      UNFAIR AND DECEPTIVE TRADE PRACTICES
                        UNDER N.C. GEN. STAT. § 75-1.1 ET SEQ.

        101.    Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.

        102.    Noregon committed an act of unfair and deceptive trade practice by switching the

diagnostic and repair software used with the JPRO diagnostic tool from Mitchell’s REPAIR-

CONNECT system to Noregon’s Next Step system, and falsely representing the switch from



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Mitchell’s REPAIR-CONNECT system to Noregon’s Next Step system as a software update,

when the switch was to a different system with different software.

        103.    Noregon committed the unfair and deceptive trade practices without informing

Mitchell’s REPAIR-CONNECT customers, potential customers, licensees or the public of the

switch to a different product than Mitchell’s REPAIR-CONNECT system.

        104.    Noregon’s conduct involved the business activity of purchasing and licensing

automotive diagnostic and repair software and systems, and was in commerce and affected

commerce in the state of North Carolina and interstate commerce.

        105.    Noregon’s conduct adversely and substantially affected the business, operations,

sales, and profits of Mitchell.

        106.    Mitchell suffered injury due to Noregon’s conduct due to loss of customers, loss

of market share, and lost profit.

        107.    Noregon’s conduct was the proximate cause of harm to Mitchell. Noregon knew,

should have known, and/or reasonably could have foreseen that its conduct would cause Mitchell

to suffer loss of customers, loss of market share, and lost profit.

        108.    Mitchell has been damaged in an amount to be determined at trial.

        109.    On information and belief, Noregon’s above acts of unfair competition are willful

and intentional, thus entitling Mitchell to an award of treble damages and attorney’s fees.

                                     COUNT VII
                      TORTIOUS INTERFERENCE WITH A CONTRACT


        110.    Mitchell repeats each and every allegation of the preceding paragraphs as if set

forth fully herein.




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           111.    The SIA Agreement between Mitchell and Noregon was entered into for good and

valuable consideration.

           112.    Under the Agreement, the parties agreed that Mitchell would enter into a EULA

contract with each end user of its REPAIR-CONNECT system, including all end users accessing

REPAIR-CONNECT through Noregon’s JPRO diagnostic tools and software.

           113.    Noregon knowingly entered into and has knowledge of Mitchell’s EULA contract

with the end users of the combined JPRO-REPAIR-CONNECT diagnostic system.

           114.    Noregon intentionally induced end users to terminate and/or cancel Mitchell’s

EULA contract with its end user customers by switching from Mitchell’s REPAIR-CONNECT

system to Noregon’s Next Step system under the guise of a software update, and thus tortuously

interfered with Mitchell’s contract with its customers and/or licensees.

           115.    Noregon’s actions were not justified or subject to any judicial exceptions.

           116.    Noregon’s inducement of the end users to violate the EULA contract was the

proximate cause of injury to Mitchell in the form of lost customers, lost market share and lost

profits.

                                             JURY DEMAND
           Mitchell demands a jury trial as to all issues that are triable by a jury in this action.

                                         PRAYER FOR RELIEF
           WHEREFORE, Mitchell prays for the following judgment and relief against Noregon:

           (a)     That Noregon is liable for direct and/or indirect infringement of one or more

claims of the Patent-in-Suit, as alleged herein;

           (b)     That Noregon and its parents, subsidiaries, affiliates, successors, predecessors,

assigns, and the officers, directors, agents, servants and employees of each of the foregoing, and



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those persons acting in concert or participation with any of them, be enjoined and restrained from

continued infringement, including but not limited to making, using, selling, or offering for sale

within the United States, or importing into the United States, any products or services that

infringe the Patent-in-Suit prior to its expiration, including any extensions;

       (c)     An award of all damages adequate to compensate Mitchell for the infringement

that has occurred, pursuant to 35 U.S.C. § 284, including lost profits, but in no event less than a

reasonable royalty, plus prejudgment and post-judgment interest;

       (d)     An award of treble damages for willful infringement pursuant to 35 U.S.C. § 284;

       (e)     That this case be declared an exceptional case within the meaning of

35 U.S.C. § 285 and that Mitchell be awarded attorney’s fees, costs, and expenses incurred in

connection with this action;

       (f)     An award of actual and compensatory damages arising from Noregon’s breach of

the SIA Agreement;

       (g)     An award of injunctive and/or equitable relief, pursuant to Paragraph 5.4 of the

SIA Agreement;

       (h)     An award of Noregon’s profits attributable to Noregon’s misrepresentations, false

advertising and unfair competition pursuant to 15 U.S.C. § 1117;

       (i)     An award of damages pursuant to 15 U.S.C. § 1117 sufficient to compensate

Mitchell for Noregon’s misrepresentations, false advertising and unfair competition;

       (j)     An award of treble damages for Noregon’s willful misrepresentations, false

advertising and unfair competition pursuant to 15 U.S.C. § 1117;




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       (k)     That this case be declared an exceptional case within the meaning of 15 U.S.C.

§ 1117 and that Mitchell be awarded attorney’s fees, costs, and expenses incurred in connection

with this action;

       (l)     An award of damages, including Mitchell’s lost profits, sufficient to compensate

Mitchell for Noregon’s violation of N.C. Gen. Stat. § 75-16;

       (m)     An award of treble damages for Noregon’s unfair and deceptive trade practices,

pursuant to N.C. Gen. Stat. § 75-16;

       (n)     That Mitchell be awarded reasonable attorney’s fees incurred in connection with

this action pursuant to N.C. Gen. Stat. § 75-16.1, plus any costs and expenses this Court deems

just and proper;

       (o)     An award of damages sufficient to compensate Mitchell for Noregon’s tortious

interference with Mitchell’s contracts with its end user customers, and any trebling or enhanced

damages and attorney’s fees available under the law;

       (p)     Directing Noregon to pay all costs incurred by Mitchell related to this action; and

       (q)     An award of any further relief that this Court deems just and proper.


                                                     Respectfully submitted,



                                                     By: /
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    Dated: June 13, 2018

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